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10                         UNITED STATES DISTRICT COURT
11                        CENTRAL DISTRICT OF CALIFORNIA
12

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     ELLIOT MCGUCKEN,                         Case No: 2:25-cv-00860-AH-SSC
                                              Hon. Anne Hwang Presiding
14   Plaintiff,
15   v.                                       PLAINTIFF’S RESPONSE TO ORDER
                                              TO SHOW CAUSE
16
     ONE PLANET GROUP LLC, et al.,
17

18   Defendants.
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                               RESPONSE TO ORDER TO SHOW CAUSE
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1          TO THE COURT, ALL PARTIES, AND ATTORNEYS OF RECORD:
2          PLEASE TAKE NOTICE THAT Plaintiff respectfully submits this response to
3    the Court’s April 7, 2025, Order to Show Cause filed under docket no. 12 (“Order”).
4    Plaintiff respectfully requests that the Order be discharged or continued for the
5    following reasons:
6          The Order required Defendant One Panet Group LLC (“One Planet Group”) to
7    respond to the operative Complaint by April 2, 2025, and if One Planet Group failed
8    to respond to the Complaint by that date, for Plaintiff to seek entry of default against
9    Global Images pursuant to Fed. R. Civ. P. 55(a).
10         Plaintiff is diligently prosecuting its case against Defendant One Planet Group
11   and Defendant California.com LLC (“California.com”). Plaintiff attempted service on
12   the registered agent for California.com on March 12, 2025, and successfully served
13   Defendant One Planet Group as evidenced by the proof of service filed on March 18,
14   2025. Dkt. 11. Following the service of defendant One Planet Group, counsel for the
15   defendants contacted Plaintiff and the parties agreed to an extension of defendant One
16   Planet Group’s answer deadline and waiver of service as to defendant California.com.
17   Plaintiff is currently awaiting execution by defendants’ counsel of the waiver of service
18   CV-108 form and stipulation to extend answer deadline.
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                                  RESPONSE TO ORDER TO SHOW CAUSE
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1          Given the foregoing, and in the interest of saving costs and fees on both sides,
2    as well as judicial economy, Plaintiff respectfully requests the Order be discharged for
3    at least 30 days for purposes of filing a stipulation of extension of time to answer as to
4    Defendant One Planet Group and waiver of service form as to Defendant
5    California.com.
6                                                      Respectfully submitted,
7
     Dated: April 21, 2025                   By:       /s/ Trevor W. Barrett
8                                                      Trevor W. Barrett, Esq.
9
                                                       Scott A. Burroughs, Esq.
                                                       Andres Navarro, Esq.
10                                                     DONIGER / BURROUGHS
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                                                       Attorneys for Plaintiff

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                                  RESPONSE TO ORDER TO SHOW CAUSE
